                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

PARTHENON UNIFIED MEMORY                       §
ARCHITECTURE LLC,                              §
                                               §
Plaintiff,                                     §
                                               §
                                                      Case No. 2:15-cv-00621-JRG-RSP
v.                                             §
                                               §
APPLE INC.,                                    §
                                               §
Defendant.                                     §

                                   MEMORANDUM ORDER

        Before the Court is Defendant Apple Inc.’s (“Apple”) Motion to Transfer Venue from the

Eastern District of Texas to the Northern District of California (Dkt. No. 22). Apple argues that

this case should be transferred to the Northern District of California. Plaintiff Parthenon Unified

Memory Architecture LLC (“Parthenon”) opposes transfer. After considering the evidence and

weighing the factors, the Court finds that Apple has not shown this case should be transferred.

                                      APPLICABLE LAW

        Section 1404(a) provides that “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought.” 28 U.S.C. § 1404(a) (2006). The first step in a Court’s

transfer analysis is deciding “whether the judicial district to which transfer is sought would have

been a district in which the claim could have been filed.” In re Volkswagen AG, 371 F.3d 201,

203 (5th Cir. 2004) (“In re Volkswagen I”).

        If that threshold is met, the Court then analyzes public and private factors relating to the

convenience of parties and witnesses and the interests of particular venues in hearing the case.

See Humble Oil & Ref. Co. v. Bell Marine Serv., Inc., 321 F.2d 53, 56 (5th Cir. 1963); In re
Nintendo Co., Ltd., 589 F.3d 1194, 1198 (Fed. Cir. 2009); In re TS Tech USA Corp., 551 F.3d

1315, 1319 (Fed. Cir. 2009). The private factors are: (1) the relative ease of access to sources of

proof; (2) the cost of attendance for willing witnesses; (3) the availability of compulsory process

to secure the attendance of witnesses; and (4) all other practical problems that make trial of a

case easy, expeditious, and inexpensive. In re Volkswagen I, 371 F.3d at 203; In re Nintendo,

589 F.3d at 1198; In re TS Tech, 551 F.3d at 1319. The public factors are: (1) the administrative

difficulties flowing from court congestion; (2) the local interest in having localized interests

decided at home; (3) the familiarity of the forum with the law that will govern the case; and (4)

the avoidance of unnecessary problems of conflict of laws or in the application of foreign law.

In re Volkswagen I, 371 F.3d at 203; In re Nintendo, 589 F.3d at 1198; In re TS Tech, 551 F.3d at

1319.

        The plaintiff’s choice of venue is not a factor in this analysis. In re Volkswagen of Am.,

Inc., 545 F.3d 304, 314-15 (5th Cir. 2008) (“In re Volkswagen II”). Rather, the plaintiff’s choice

of venue contributes to the defendant’s burden of proving that the transferee venue is “clearly

more convenient” than the transferor venue. In re Volkswagen II, 545 F.3d at 315; In re

Nintendo, 589 F.3d at 1200; In re TS Tech, 551 F.3d at 1319. Although the private and public

factors apply to most transfer cases, “they are not necessarily exhaustive or exclusive,” and no

single factor is dispositive. In re Volkswagen II, 545 F.3d at 314-15.

        Timely motions to transfer venue “should [be given] a top priority in the handling of [a

case],” and “are to be decided based on ‘the situation which existed when suit was instituted.’”

In re Horseshoe Entm’t, 337 F.3d 429, 433 (5th Cir. 2003); In re EMC Corp., Dkt. No. 2013-

M142, 2013 WL 324154 (Fed. Cir. Jan. 29, 2013) (quoting Hoffman v. Blaski, 363 U.S. 335, 443

(1960)).




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                                          ANALYSIS

       The Parties disagree on the relevance and involvement of third-parties in this case.

Parthenon has accused some Apple products of infringing the asserted patents when they used

the memory architecture of the A7 processor in Apple’s iOS products. Apple claims there are no

third-party witnesses relevant to this case because Apple has produced all the accused

technology and products at its headquarter in Cupertino, California. Parthenon claims that

STMicroelectronics, Inc. (“ST Micro”) originally owned the asserted patents and it allegedly has

evidence that relates to Apple’s defenses. Parthenon further claims Samsung manufactures chips

for Apple products in Austin, Texas and it allegedly has evidence that relates to Parthenon’s

claims of infringement, making Eastern District of Texas the more convenient forum for third-

party witnesses and documents.

A.     Proper Venue

       Neither party disputes that the Eastern District of Texas and the Northern District of

California are proper venues.

B.     Private Interest Factors

       1.      Relative Ease of Access to Sources of Proof

       “In patent infringement cases, the bulk of the relevant evidence usually comes from the

accused infringer. Consequently, the place where the defendant’s documents are kept weighs in

favor of transfer to that location.” In re Genentech, Inc., 566 F.3d 1338, 1345 (Fed. Cir. 2009)

(citation omitted).

       Apple claims the Northern District of California is an overwhelmingly more convenient

forum because the primary research and design of the accused technology, as well as the vast

majority of the design, development, marketing, and sales of the accused products are centered in




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the Northern District of California. Dkt. No. 22-20 ¶ 2-4, 8; Dkt. No. 68 at 2. Apple’s corporate

representative is not aware of any Apple engineers, third party witnesses, or documents related to

the accused technology in the Eastern District of Texas. Dkt. No. 22 at 2, 7; Dkt. No. 22-20 ¶¶

26-29. Apple further asserts Parthenon has no meaningful presence to the Eastern District of

Texas because Parthenon makes nothing, has no employees, and shares the same office with at

least 50 other subsidiaries. Dkt. No. 68 at 2-3; Dkt. No. 68-2 at 8:21-23; Dkt. No. 68-2 at 21:7-9.

The privilege log produced by Parthenon shows 78 entries, and only one individual is actually

affiliated with Parthenon. Dkt. No. 68-1 ¶ 11; Dkt. No. 68-4 at 2-8. Work being done on behalf

of Parthenon occurs mostly in California, and relevant documents are likely in California. Dkt.

No. 68-1 ¶¶ 9, 11. Even if documents are available in Texas, they are easily accessible from

California. Dkt. 68-1 ¶ 20; Dkt. No. 68-2 at 15:20-19:5.

          Parthenon claims Apple has hundreds of design engineers at its Austin, Texas facility

with knowledge of the system-on-chips (“SoC”) used in the accused products. Dkt. No. 52 at 4.

Parthenon further asserts many of the A-series chips at issue in this case are manufactured by

Samsung at its fabrication facilities in Austin and relevant documents relating to the architecture

of the A-series chips would likely be located at Samsung’s facility in Austin. Dkt. No. 52 at 4, 6;

Dkt. No. 52-1 at 47-48; Dkt. No. 72 at 6. Parthenon claims Apple’s motion to transfer venue

also overlooked STMicro’s evidence and witnesses located in Coppell, Texas,1 Dkt. No. 52 at 5,

and it needs STMicro’s documents to address Apple’s defenses. Id. Parthenon finally claims that

it has “sources of proof [that] are located in this judicial district.” Dkt. No. 52 at 10; Dkt. No. 72

at 2-3.




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              Coppell, Texas is partly in Denton County which is in the Eastern District of Texas.



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       Apple claims STMicro does not have significant documents to affect the venue analysis.

Dkt. No. 68 at 4. Holly Hernandez confirmed in her 30(b) (6) deposition for Parthenon that

STMicro has not been subpoenaed in any of its cases. Dkt. No. 68-2 at 38: 18-25. Hernandez

testified that after litigation had commenced between Parthenon and other defendants in related

cases, Parthenon did not reach out to STMicro for help locating documents. Dkt. No. 68-2 at

39:6-15. At the time Parthenon filed its action against Apple, there were cases already pending

in the District relating to the same asserted patents. Dkt. No. 52 at 13. In its response to Apple’s

motion, Parthenon anticipates that Apple will raise the same disputed terms and arguments in

this case. Id. Apple rebuts this assertion stating that there are very few issues that implicate

STMicro, and documents for those few issues are likely already in Parthenon’s possession. Dkt.

No. 68 at 4-5.

       Parthenon’s evidence shows that STMicro’s documents are likely in Coppell, and those

documents are likely relevant to Apple’s defenses of prosecution history estoppel, implied

license, and unenforceability. Dkt. No. 36 ¶¶ 35-36; Dkt. No. 52 at 5. Although Apple asserts

three of the four witnesses Parthenon identified as having relevant documents from STMicro are

in-house counsel and unlikely to have non-privileged documents, this assertion does not rebut

Parthenon’s showing that its evidence is in this District. Dkt. No. 68 at 4.

       Apple claims Samsung’s activities in Austin are not relevant to this case and should not

affect venue analysis. Dkt. No. 68 at 5. Apple argues the technology at issue represented in

Parthenon’s infringement contentions is directed to the memory architecture itself, not

everything that uses memory.2 Dkt. No. 68 at 5. Apple claims to communicate only with



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          Apple claims its A-series processors are “systems-on-a-chip” (“SoC”) that include a
large variety of functionality housed within the chip, including the CPU core, GPU, decoders and
switch fabrics. Dkt. No. 68 at 5 FN. Teams at Apple independently develop these technologies,


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Samsung Korea or its U.S. office in San Jose, and there is no interaction between Apple and

Samsung’s Austin facility. Dkt. No. 68-1 ¶¶ 10, 34. Parthenon rebuts this claim noting Samsung

manufacturers a significant number of the Apple chips and would have Apple’s RTL and source

code required for the manufacturing processes. Dkt. No. 52 at 9. Parthenon further argues that

even if Apple only communicates with Samsung Korea, Apple’s technical information

concerning the manufacture of the A-series would logically “flow” from Korea to Samsung’s

Austin facility, where the chips are actually manufactured, thus implicating relevant documents

exist in Austin.   Dkt. No. 52 at 10; Dkt. No. 72 at 6.         In addition, Apple’s corporate

representative confirmed Apple and Samsung both contributed to the design of the A4 through

A6 processors until Apple became the sole contributor in the A7 generation and onward. Dkt.

No. 52-1 at 49-52.     This indicates Samsung likely has relevant evidence of the accused

technology and products and played a bigger role than merely manufacturing the chips using

Apple’s design.

       As to the Parties, Parthenon has shown that its own evidence is in this District.

Parthenon’s parent corporation, Acacia Research Group LLC (“Acacia Research”), has had

offices here since at least 2011. Dkt. No. 52 at 10; Dkt. No. 52-33 at 2. Although Apple asserts

that Parthenon and Acacia Research are both subsidiaries of a California entity, this assertion

does not rebut Parthenon’s showing that its evidence is in this District. Dkt. No. 52 at 2; Dkt.

No. 72 at 2-3.

       Finally, it is unclear how much evidence Apple has in Texas. Apple claims the memory

architecture/switch fabric team led by Sukalpa Biswas in Cupertino is responsible for the overall

design of the A-series processor. Dkt. No. 22-20 ¶ 15. The IP Design-Media Design team led

and the teams responsible for the integration and overall design of the chip are in Cupertino.
Dkt. No. 68-1 at 8-9; Dkt. No. 22-20 ¶¶ 14-21.



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by Hao Chen in Cupertino is responsible for integrating the video decoder into the Apple switch

fabric and memory architecture. Id. at ¶ 18. The video engineering group in California led by

Vaidy Mani handles the software drivers for video decoders used in the A-series processors. Id.

at ¶ 20. Apple further asserts there are no Apple engineers outside of California who are

responsible for developing the memory architecture for Apple’s A-series processors. Dkt. 52-1 at

72:22-73:3. Yet, Apple’s corporate representative states there is technical work provided outside

of Cupertino regarding Apple memory architecture or the Apple switch fabric for the A-series

processors, Dkt. No. 52-1 at 45:1-17, and presumably the code, schematics, and other technical

details would be kept locally for easy access. Dkt. No. 22-20 ¶ 25. Apple insists the graphic

processing unit (“GPU”) team in Austin is not responsible for integrating the GPU unit within

the memory architecture, Dkt. No. 68 at 6; Dkt. No. 69-5 ¶¶ 4-8; Dkt. 69-6 ¶¶ 4-9; Dkt. No. 69-7

¶¶ 4-9, and insofar as Chuck Pope’s team has any documents, those documents would pertain to

their work on the GPU, not the accused technology. Dkt. No. 52-1 at 25-26; 66:6-17. However,

Apple cannot dispute that information does transmit through the Austin office, especially in

Pope’s role as liaison with Imagination Technologies.

       Parthenon claims that Apple’s work in Texas is relevant to this case because it relates to

the technical work performed directly on the chip components that are explicitly identified in

Parthenon’s infringement contentions. Dkt. No. 72 at 5. Parthenon states the GPU integration

performed in Austin is important because the “asserted patents are generally directed toward the

sharing of memory by two devices in the context of multimedia decoding.” Dkt. No. 52 at 6.

Parthenon asserts in certain disclosed embodiments, the multimedia decoder shares the memory

with the graphics accelerator, identifying the GPU. Id. at 7. Parthenon further claims Pope has

relevant information concerning the integration of the GPU into the A-series chip, and he also




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has relevant information concerning Imagination Technologies’ integration of the video

decoding technology into each of the accused products in his role as Apple’s liaison. Dkt. No. 72

at 5. Because the decoding technology is referenced in the ‘789 patent, ‘464’ patent, ‘368 patent

and the ‘405 patent, Pope’s testimony would be relevant. Dkt. No. 72 at 5-6. Apple disputed this

claim in its reply. See Dkt. No. 68 at 5 (“The technology at issue is not anything that uses

memory – the [accused] technology is directed to the memory architecture itself and how it

functions to allow multiple devices to share memory. This is what [Parthenon] told this Court,

has represented in its contentions, and has said in IPR proceedings.”). See also Dkt. No. 52 at 6

(Parthenon admits the asserted patents “are generally directed toward the sharing of memory.”)

       This factor, on the whole, weighs slightly against transfer. Parthenon has shown that it

has evidence in the Eastern District of Texas. Apple has shown that its documents are more

accessible from the Northern District of California. However, because STMicro’s and Samsung’s

involvement remains disputed, and both third-parties have connections to Texas, Apple has

failed to show the relative ease of access to sources of proof clearly favors transfer.

       2.      Cost of Attendance for Willing Witnesses

       Apple claims important third party witnesses are overwhelmingly located in California.

Dkt. No. 68 at 2. There are four inventors listed on one or more of the seven patents-in-suit, and

three of the inventors still reside in California, including two inventors in the Northern District of

California. Dkt. No. 22 at 12; Dkt. No. 22-1 ¶ 8. Apple also claims to have implemented a

shared memory architecture in its products far earlier than the filing date of any of the patents-in-

suit, and those prior art inventors still reside in the Northern District of California. Dkt. No. 22

at 12-13. Apple states all foreseeable Apple witnesses are in California and would need to travel




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substantial distance from Cupertino to the current venue, which creates enormous scheduling

obstacles and inconvenience to the witnesses. Dkt. No. 22 at 10.

       Apple further claims Imagination Technologies, the only relevant supplier that Apple

contracts with regarding the accused technology, is a foreign corporation and has its U.S.

headquarters in Santa Clara. Dkt. No. 22 at 7, 12; Dkt. No. 52-1 at 38:11-17. Apple argues that

to the extent third-party discovery will be propounded against Imagination Technologies, it will

likely be done in the Northern District of California or in the United Kingdom. Dkt. No. 22 at 12.

Parthenon rejects this argument stating Imagination Technologies witnesses will have to travel a

significant distance whether they testify in California or Texas, and to the extent they are

considered, travel to the Eastern District of Texas would still be more convenient than the longer

journey to Northern District of California. Dkt. No. 52 at 12.

       Parthenon claims that STMicro’s witnesses, like its documents, are in Coppell. Dkt. No.

52 at 5, 12; Parthenon also claims that the named inventors, STMicro witnesses, and its own

witnesses could attend a trial in Marshall with ease. Id. at 12; Dkt. No. 52-26 at 2; Dkt. No. 52-

27 at 2; Dkt. No. 52-28 at 2; Dkt. No. 52-29 at 2; Dkt. No. 52-30 at 2. Parthenon further argues

that to the extent the named inventors are called to testify at trial, they are likely to do so in each

of the related cases currently pending in this District. Id. Transferring this case will likely subject

such nonparty witnesses to the discovery process in multiple courts, compounding the

inconvenience to such witnesses. Id. Apple does not dispute that Parthenon’s CEO, Mr. Marvin

Key works in this District. Dkt. No. 68-2 at 22:6-10; Dkt. No. 68-2 at 28:11-12, 29:8-12; Dkt.

No. 129-1 ¶ 4.

       “The convenience of the witnesses is probably the single most important factor in a

transfer analysis.” In re Genentech, Inc., 566 F.3d 1338, 1342 (Fed. Cir. 2009). While the Court




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must consider the convenience of both the party and non-party witnesses, it is the convenience of

non-party witnesses that is the more important factor and is accorded greater weight in a transfer

of venue analysis. Aquatic Amusement Assoc., Ltd. v. Walt Disney World Co., 734 F. Supp. 54,

57 (N.D.N.Y. 1990); see also 15 Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure § 3851 (3d ed. 2012).

       “A district court should assess the relevance and materiality of the information the

witness may provide.” In re Genentech, Inc., 566 at 1343. However, there is no requirement

that the movant identify “key witnesses,” or show “that the potential witness has more than

relevant and material information . . . .” Id. at 1343-44.

       Apple claims the asserted patents all relate to a shared memory architecture, Dkt. No. 22

at 3; Dkt. No. 52 at 6, and unlike other related cases which involve chips designed by a third

party, Apple has developed all the accused technology and its products in the Northern District

of California. Dkt. No. 22 at 7. The teams in Austin are not implicated by the design of Apple’s

memory architecture even if some of the engineers might generally know how the memory

architecture works. Dkt. No 68 at 6-7.

       Parthenon identifies 15 witnesses in Apple’s Austin facility, including Chuck Pope3, Kip

Fluitt, Rob Kenney, and Steven Sullivan4 as having relevant knowledge relating to the design

and architecture of the A-series chips and the accused products. Dkt. No. 52 at 8. Fluitt,

Kenney, and Sullivan each signed a declaration rebutting Parthenon’s assertion and denied

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         Pope is Apple’s liaison with Imagination Technologies. Dkt. No. 52 at 7. Parthenon
claims Pope has relevant information concerning the integration of the GPU into the A-series
chips and Imagination Technologies’ video decoding technologies into each of the accused
product in this case. Id.
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         Parthenon claims Fluitt, Kenney, and Sullivan as former Intrinsity employees would
have knowledge and responsibilities relating to the GPU, CPU, and general SoC for Apple’s
processor. Dkt. No. 52 at 8.



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having relevant knowledge on the accused technology. Dkt. No. 69-5 ¶¶ 4-8; Dkt. 69-6 ¶¶ 4-9;

Dkt. No. 69-7 ¶¶ 4-9.

        As to the remaining third-party witnesses, Apple has shown that it would be more

convenient for three named inventors to attend trial in Northern District of California but

Parthenon has shown that it would be more convenient for five STMicro witnesses to attend trial

in Marshall.5 Parthenon cannot dispute that several named inventors live in California. Dkt. No.

22 at 12. Apple does not dispute that STMicro’s witnesses work in Coppell. See Dkt. No. 52 at

5. To the extent that transfer to the Northern District of California would be convenient for

Apple’s witness, Parthenon has shown that the Eastern District of Texas would be more

convenient for STMicro, Samsung, and its own witnesses. This factor does not clearly favor

transfer.

        3.     Availability of Compulsory Process to Secure the Attendance of Witnesses

        Rule 45 provides that this Court may command a person who “resides, is employed, or

regularly transacts business in person” in Texas to attend trial in Marshall if that person “would

not incur substantial expense.” Fed. R. Civ. P. 45(c)(1)(B). This Court also may command a

person to attend a deposition “with 100 miles of where the person resides, is employed, or

regularly transacts business in person.” Fed. R. Civ. P. 45 (a)(2); see id. (c)(1)(A), (d)(3)(a).

Party witnesses do not require compulsory process, and the Court’s analysis of this factor

focuses on third-party witnesses for whom compulsory process to attend trial might be necessary.

        The Eastern District of Texas has subpoena power over five STMicro witnesses. The

Northern District of California has subpoena power over three of the named inventors and three

prior art inventors. Dkt. No. 22 at 12-13. Neither district has subpoena power over Samsung’s
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        Parthenon also has evidence that one of the named inventors will willingly attend trial
in Marshall. Dkt. No. 52 at 12; Dkt. No. 52-35 at 2-3.



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witnesses in Austin nor Seed IP Law Group, the prosecuting firm located in Seattle, Washington.

Dkt. No. 22-1 ¶ 9; Dkt. No. 22-9 at 2. This factor weighs is neutral on transfer.

       4.      All Other Practical Problems that Make Trial of a Case Easy, Expeditious,
               and Inexpensive

       The Court finds that judicial economy weighs against transfer because when Apple filed

this motion, seven related cases involving the same patents and technology were pending before

the Court. See, e.g., In re EMC Corp., 501 F. App’x 973, 976 (Fed. Cir. 2013) (“The district

court could properly consider the benefits to judicial economy arising from having the same

judge handle both Oasis’ suits against the petitioners and Oasis’ suits against other parties

involving the same patents and technology as to which there was no issue of transfer.”).

Parthenon argues this Court had already conducted three claim construction hearings and issued

an order construing relevant claim terms in one of the cases. Dkt. No. 72 at 6. Each of those

three claim construction hearings involved substantially the same set of terms. Id. Subsequent

settlements have occurred in related cases prior to Apple’s motion. This Court has familiarity

with the asserted patents and a genuine interest in keeping the claim constructions consistent on

the same set of terms. Transferring this case at the current juncture would waste significant

judicial resources and give rise to potentially conflicting claim constructions. This factor weighs

strongly against transfer.

C.     Public Interest Factors

       1.      Administrative Difficulties Flowing From Court Congestion

       The Court finds this factor is neutral as to transfer. The time to trial in this District and

the Northern District of California is similar. Dkt. No. 22 at 14. Apple filed this motion three

months after it received the summons and before the Parties exchanged infringement and




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invalidity contentions. Dkt. No. 22 at 14-15. This case was not consolidated with any other

matter and Apple has not had a chance to argue claim construction. Id. at 15.



        2.     Local Interest in Having Localized Interests Decided at Home

        The Court finds this factor is neutral as to transfer. Four named inventors reside in

California, and one of the inventors has agreed to attend trial voluntarily in Texas. Dkt. No. 22 at

12; Dkt. No. 52 at 12. Apple has facilities in both Austin and Cupertino. Dkt. No. 22 at 2; Dkt.

No. 68 at 6. Parthenon operates in Texas and is related to a California company. Dkt. No. 55 at

10; Dkt. No. 72 at 2. Neither party can dispute that both Texas and California have an interest in

this case.



        3.     Familiarity of the Forum With the Law that Will Govern the Case and
               Avoidance of Unnecessary Problems of Conflict of Laws or in the
               Application of Foreign Law

        The Parties do not dispute that these factors are neutral as to transfer. Dkt. No. 22 at 16;

Dkt. No. 52 at 15.




                                         CONCLUSION

        A motion to transfer venue should only be granted upon a showing that one venue is

“clearly more convenient” than another. In re Nintendo Co., 589 F.3d at 1197; In re Genentech,

Inc., 566 F.3d at 1342 (Fed. Cir. 2009). After weighing the evidence as a whole, the Court finds

that this case should remain in the Eastern District of Texas because transfer to the Northern

District of California would not be “clearly more convenient” especially given the Court’s

familiarity with the asserted patents and the related cases involving the same asserted patents.



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Apple’s Motion to Transfer (Dkt. No. 22) is therefore DENIED, and Apple’s Motion to Stay

Pending Motion to Transfer (Dkt. No. 61) is DENIED AS MOOT.
       SIGNED this 3rd day of January, 2012.
      SIGNED this 9th day of August, 2016.




                                                  ____________________________________
                                                  ROY S. PAYNE
                                                  UNITED STATES MAGISTRATE JUDGE




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